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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ROBERT SIMON,

                                Plaintiff,
                                                                  19-CV-5890 (CM)
                    -against-
                                                                 CIVIL JUDGMENT
MANHATTAN MINI STORAGE, LLC, et al.,

                                Defendants.

         Pursuant to the order issued November 13, 2019, dismissing the complaint,

         IT IS ORDERED, ADJUDGED AND DECREED that the complaint is dismissed under

28 U.S.C. § 1915(e)(2)(B)(i)-(iii). Under 28 U.S.C. § 1367(c)(3), the Court declines to exercise

its supplemental jurisdiction over any state-law claims Plaintiff may be asserting.

         The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from the Court’s

judgment would not be taken in good faith.

         IT IS FURTHER ORDERED that the Clerk of Court mail a copy of this judgment to

Plaintiff and note service on the docket.

SO ORDERED.

Dated:     November 13, 2019
           New York, New York

                                                           COLLEEN McMAHON
                                                       Chief United States District Judge
